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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
                           )
             v.            )                          Case No. 1:23-cr-00005 (APM)
                           )
ERIC CHRISTIE,             )
                           )
                Defendant. )

   NOTICE OF WAIVER OF JURY TRIAL AND REQUEST FOR A BENCH TRIAL

     Comes now the Defendant, ERIC CHRISTIE, by and through undersigned counsel, and

respectfully provides notice of his signed waiver of trial by jury, notes that he is sending the waiver

to the government for signature, and requests that the Court approve his request.

     Mr. Christie's jury trial is currently scheduled to begin on June 15, 2023. This Court has two

other scheduled events on June 16, 2023 according to the posted public calendar for all court

matters as of this date. A bench trial for Mr. Christie as a single defendant could still be completed

by June 16, 2023, depending on whether the government brings in more than the one-two witnesses

it mentioned at the last status conference.

       Wherefore, Mr. Christie requests that the Court approve a bench trial upon the

government's return of the jury waiver form already signed by Mr. Christie, and if a statement is

required in open court prior to the June 8, 2023 in-person pretrial conference, schedule a status

conference by remote video teleconference at the Court's earliest convenience.
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Dated May 24, 2023                           Respectfully submitted,

                                            /s/ Carolyn A. Stewart
                                            Carolyn A. Stewart, Bar No. FL-0098
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                               CERTIFICATE OF SERVICE

       I hereby certify on the 24th day of May 2023, a copy of the foregoing was served upon

all parties as forwarded through the Electronic Case Filing (ECF) System.

                                     /s/ Carolyn Stewart Esq.
                                     Carolyn Stewart, Esq.




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